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May 19, 2023

Via ECF

Honorable Sarah Netburn
Thurgood Marshall
United States Courthouse
40 Foley Square

New York, NY 10007

Re: Inre Terrorist Attacks on September 11, 2001 —
MDL — 03-md-01570 (GBD) (SN)
Lefit v. Kingdom of Saudi Arabia - 18-cv-03353

Your Honor:

We are counsel to the Lefit plaintiffs in the referenced action. Your affirmant submits this
letter to correct the Index number on the matter we are currently on trial for in New York State
Supreme Court for the County of Kings in the Matter of Smith v. the City of New York, et al. The
correct Index number is 389/15. Our apologies for any confusion.

Thank you for your time and attention to this matter.

ACL/bd

 

Cc.: Counsel for KSA — via ECF
